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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

                              Case Number: 18-61075-CIV-MORENO

  MITZY BATISTA,

                 Plaintiff,
  vs.

  SOUTH FLORIDA WOMAN'S HEAL TH
  ASSOCIATES, INC. and EDWARD D.
  ECKERT,

                 Defendants.
 - - - - - - - - - - - - - - - - -I
 ORDER GRANTING DEFENDANTS' MOTION FOR DEADLINE TO FILE RESPONSE

        THIS CAUSE came before the Court upon Defendants' Motion for Deadline for Plaintiffs

 counsel to File Response (D.E. 53), filed on June 4, 2021, and Defendants' Amended Motion for

 Deadline for Plaintiffs counsel to File Response (D.E. 54), filed on June 4, 2021.

        THE COURT has considered the motion, the pertinent portions of the record, and being

 otherwise fully advised in the premises, it is

        ADJUDGED that the Defendants' Amended Motion (D.E. 54) is GRANTED. Plaintiffs

 counsel must respond to the Eleventh Circuit's Mandate by April 15, 2022. Defendants' Original

 Motion (D.E. 53) is DENIED as moot.                                         V
        DONE AND ORDERED in Chambers at Miami, Florida, this £                   of February 2022.




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 Copies furnished to: Counsel of Record
